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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DMSION


UNITED STATES OF AMERICA

vs.                        No. 4:22CR00202-0l LPR

JOHNNY BOWMAN

                                     ORDER

      The United States is reminded of its obligation to turn over to the defense all

exculpatory evidence, that is, evidence that favors the Defendant or which casts

doubt on the government's case. See Brady v. Maryland, 373 U.S. 83 (1963).

      If the government fails to produce exculpatory evidence in a timely manner,

the Court may: (1) exclude certain evidence; (2) give an adverse jury instruction;

(3) dismiss charges; (4) hold government lawyers in contempt; or (5) impose other

appropriate sanctions.

      Dated this 24th day of August, 2022.
